     Case 3:10-cv-00911-TJC-JK Document 6 Filed 12/10/10 Page 1 of 1 PageID 23



                         THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

JAMIE GARCIA,

        Plaintiff,                             CASE NO. 3:10-cv-00911

v.

ACADEMY COLLECTION SERVICE, INC.

      Defendant.
_____________________________________/


                             NOTICE OF VOLUNTARY DISMISSAL

      JAMIE GARCIA (Plaintiff), by his attorneys, KROHN & MOSS, LTD., and pursuant to

FRCP 41(a)(1)(i) (Dismissal of Actions - Voluntary Dismissal By Plaintiff Without Court

Order) voluntarily dismisses, without prejudice, ACADEMY COLLECTION SERVICE, INC

(Defendant), in this case.


                                               RESPECTFULLY SUBMITTED,

                                               By: /s/James D. Pacitti___
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                                  VOLUNTARY DISMISSAL
